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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CHARNITA PROCTOR

                 Plaintiff,

v.                                                     CIVIL ACTION NO.

FIRST PREMIER CORPORATION, KOHLS
CORP., CREDIT ONE FINANCIAL, MERRICK
BANK CORPORATION, TD BANK US
HOLDING COMPANY, CITIGROUP, INC.,
ENCORE CAPITAL GROUP, INC., FIRST
SAVINGS BANK

                 Defendants.


                                   NOTICE OF REMOVAL

       Defendant Citibank, N.A., erroneously identified herein as “Citigroup, Inc.” (“Citibank”),

by its undersigned counsel, Ballard Spahr LLP, hereby provides notice pursuant to 28 U.S.C. §§

1441 and 1446 of the removal of the above-captioned case from the Superior Court of the

District of Columia, to the United States District Court for the District of Columbia. As grounds

for removal, Citibank state as follows:

                                          Background

       1.      On or about July 9, 2020, plaintiff Charnita Proctor (“Plaintiff”) filed a complaint

(the “Complaint”) in the Superior Court of the District of Columbia, and thereby commenced an

action captioned: Charnita Proctor v. First Premier Corporation, et al., No. 2020 CA 003037.

A true and correct copy of the Complaint is attached as Exhibit A.

       2.      Plaintiff's Complaint alleges a cause of action under the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681, et seq., and the Fair Debt Collection Practices Act (“FDCPA”), 15

U.S.C. § 1692, et seq.
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          3.      As of the date of this Notice of Removal, Plaintiff has not served Citibank with

the Complaint. Plaintiff filed the Complaint on July 9, 2020, and the Court issued a summons as

to Citibank on July 9, 2020. Although not yet served with process, Citibank received notice of

the Complaint on or about July 9, 2020.

                                    Federal Question Jurisdiction

          4.      This Court has original jurisdiction under 28 U.S.C. § 1331, as Plaintiff alleges

violations of a claim or right arising under the laws of the United States.

          5.      Specifically, Plaintiff's Complaint alleges violations of the FCRA and FDCPA.

          6.      Therefore, this action is subject to removal pursuant to 28 U.S.C. §§ 1331 and 1441,

upon notice by Citibank, because Plaintiff asserts a claim arising under the laws of the United

States.

                                                    Venue

          7.      Under 28 U.S.C. § 1441(a), the United States District Court for the District of

Columbia is the proper venue for removal because this suit was filed in the Superior Court of the

District of Columbia, which lies within the bounds of the United States District Court for the

District of Columbia.

                                           Procedural Compliance

          8.      Removal of this action is timely. 28 U.S.C. § 1446(b) provides that, “[t]he notice

of removal of a civil action or proceeding shall be filed within thirty days after the receipt by the

defendant, through service or otherwise, of a copy of the initial pleading setting forth the claim

for relief upon which such action or proceeding is based[.]”

          9.      This Notice of Removal is being filed with the United States District Court for the

District of Columbia within 30 days after Citibank first received notice of the filing of the

Complaint.


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         10.   Citibank attaches to this Notice of Removal as Exhibit A, and incorporates by

reference, a copy of Plaintiff's Complaint. The Complaint is the only “process, pleadings or

orders” obtained by Citibank in this action. 28 U.S.C. § 1446(a).

         11.   Citibank serves contemporaneously with this filing a copy of this Notice of

Removal upon Plaintiff. Citibank will also file a Notice of Filing of Notice of Removal with the

clerk for the Superior Court of the District of Columbia, as required by 28 U.S.C. § 1446(d).

         12.   By filing a Notice of Removal in this matter, Citibank does not waive its right to

object to service of process, the sufficiency of process, jurisdiction over the person, or venue.

No admission of fact, law, or liability is intended by this Notice, and Citibank specifically

reserves the right to assert any defenses and/or objections to which Citibank may be entitled.

         13.   Defendants First Premier Corporation, Credit One Financial, Kohls Corp., and

Merrick Bank Corporation confirmed that they consent to the removal of this action, and as such,

all defendants, who have been served to date, have consented to removal.             28 U.S.C. §

1446(b)(2)(A). There is no need for the consent of Defendants TD Bank US Holding Company,

Encore Capital Group, Inc., and First Savings Bank because, upon information and belief, they

have not yet been served with process. See 28 U.S.C. § 1446(b)(2)(A) (consent to removal

required only of defendants who were “properly joined and served”).

         14.   Based upon the foregoing, this Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1331, and this action is properly removed to this Court.

         WHEREFORE, Citibank, N.A. hereby gives notice that the above-captioned action,

currently pending in the Superior Court of the District of Columbia, is hereby removed to this

Court.




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                                          Respectfully submitted,


                                          BALLARD SPAHR LLP

Dated: August 7, 2020                     /s/ Jessica Hepburn Sadler
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                                          Attorneys for Defendant Citibank, N.A.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2020, a true and correct copy of the foregoing Notice of

Removal was delivered via first-class mail, postage prepaid, upon the following:

          Jeffrey W. Styles, Esq.                  Karin Oko, Esq.
          Washington Legal Group, LLC              Holland & Knight LLP
          1666 K Street, NW, Ste #440              50 North Laura Street, Suite 3900
          Washington, DC 20006                     Jacksonville, Florida 32202

          Attorneys for Plaintiff                  Counsel for Defendant Merrick Bank Corp.

          Rachel B. Cash, Esq.                     Christopher A. Hatfield, Esq,
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          420 North 20th Street , Suite 3400,      1909 K Street, N.W., Suite 1200
          Birmingham, Alabama 35203                Washington, D.C. 20006

          Counsel for Defendant Kohl’s, Inc.       Counsel for Defendant First Premier Bank

          First Savings Bank                       Encore Capital Group, Inc.
          John P. Lawson, Jr.                      Corporation Service Company
          501 E. Lewis & Clark Pkwy                251 Little Falls Drive
          Jeffersonville, IN 47129                 Wilmington, DE 19808

          Credit One Financial                     TD Bank US Holding Company
          National Registered Agents Inc.          Corporation Service Company
          701 S. Caron Street, Suite 200           251 Little Falls Drive
          Carson City, NV 89701                    Wilmington, DE 19808




                                            /s/ Jessica Hepburn Sadler
                                            Jessica Hepburn Sadler
